Case §

b:15-cv-00107-JGB-RAO Document 52 Filed 05/03/16 Page 1of2 Page ID #:1307

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JACQUELINE DEAN, on Behalf of Case No. 5:15-CV-00107-JGB(DTBx)
Herself and all Others Similarly Situated, | Declaration of Cynthia Rogowski
Plaintiff, pursuant to Local Rule

v. 9-5.2.2(b)(i)

COLGATE-PALMOLIVE CoO.

 

Defendant.

 

 

1. My name is Cynthia Rogowski.

2. I am Senior Counsel for Meijer Inc. (“Meijer”).

3. I submit this declaration in connection with Plaintiff's Application for
Leave to File Documents Under Seal and pursuant to Local Rule 79-5.2.2(b)(i).

4. On April 12, 2016, Meijer sent Plaintiffs counsel a declaration in
response to a third-party subpoena. The declaration was designated as confidential.

5. On April 26, 2016, I met and conferred telephonically with Courtney
Maccarone, counsel for plaintiff, pursuant to Local Rule 79-5.2.2(b) concerning the
confidential designation on the declaration. I agreed to allow plaintiff to publically
file the document, but redact only the content in paragraphs 5 through 9.

6. This information is confidential because it relates to the proprietary and
confidential business operations of Meijer, including the manner in which Meijer
collects and maintains information related to customers and customer purchases as

well as personal information of Meijer customers.

 

 

DECLARATION OF CYNTHIA ROGOWSKI
CASE NO. 5:15-CV-00107-JGB(DTBx)

 
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1 I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct to the best of my knowledge.

2

Executed May 3, 2016, at Grand Rapids, Michigan.

Conte ey A.

Cynthia Rogowski

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DECLARATION OF CYNTHIA ROGOWSKI
CASE NO. 5:15-CV-00107-JGB(DTBx)

 

 

 
